
724 S.E.2d 534 (2012)
Michael I. CINOMAN, M.D. and Medical Mutual Insurance Company of North Carolina
v.
The UNIVERSITY OF NORTH CAROLINA; The University of North Carolina Healthcare System d/b/a The University of North Carolina Hospitals at Chapel Hill; The University of North Carolina d/b/a The School of Medicine of the University of North Carolina at Chapel Hill; The University of North Carolina d/b/a The University of North Carolina Liability Insurance Trust Fund; William L. Roper in his capacity as Dean of the School of Medicine of the University of North Carolina Chapel Hill; Brian Goldstein in his capacity as Chairman of the University of North Carolina Liability Insurance Trust Council; and Thomas M. Stern, as Guardian Ad Litem for Armani Wakefall.
No. 521P11.
Supreme Court of North Carolina.
April 12, 2012.
Michael T. Medford, Raleigh, for Cinoman, Michael I. (M.D.), et al.
David Neal Allen, Charlotte, for University of North Carolina, et al.
AMENDED ORDER
Upon consideration of the petition filed on the 15th of November 2011 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:

*535 "Denied by order of the Court in conference, this the 12th of April 2012."
